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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                            Case No. 3:22-cr-37/TKW

VICTOR LARON BROWN
_____________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, VICTOR LARON BROWN to Count One through Twenty of the

indictment is hereby ACCEPTED. All parties shall appear before this Court for

sentencing as directed.

      DONE and ORDERED this 3rd day of January, 2023.




                                    __________________________________
                                    T. KENT WETHERELL, II
                                    UNITED STATES DISTRICT JUDGE
